Case 0:17-cv-60092-WPD Document 26 Entered on FLSD Docket 07/12/2017 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 17-60092-CIV-DIMITROULEAS/Snow

  SOO KO,

                 Plaintiff,

  v.

  MSC CRUISES, S.A.,

              Defendant.
  ____________________________________________/


                                                 ORDER
                 THIS CAUSE is before the Court on Plaintiff's Motion to Compel Contact

  Information for Disclosed Prior Incident (ECF No. 23) which was referred to Lurana S. Snow,

  United States Magistrate Judge. The motion is ripe for consideration.

                 In response, Defendant reports that after further conferral it has provided the

  passenger contact information requested. As Defendant's failure to provide the contact information

  was the only issue raised in the Plaintiff's motion, it appears that the motion is now moot. Being fully

  advised, it is hereby

                 ORDERED AND ADJUDGED that Plaintiff's Motion to Compel Contact

  Information for Disclosed Prior Incident (ECF No. 23) is DENIED as moot.

                 DONE AND ORDERED at Fort Lauderdale, Florida, this 12th day of July, 2017.




  Copies to:
  All Counsel of Record and Pro Se Parties
